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                        IN THE UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF MISSOURI

MICHELLE A. MILLER,                                 )
                                                    )
                        Plaintiff,                  )
                                                    )
v.                                                  )           Case No. 4:21-cv-01068
                                                    )
TSG RESOURCES, INC. d/b/a                           )
SCP HEALTH,                                         )
Serve Registered Agent:                             )
CT Corporation System                               )
120 South Central Avenue                            )
Clayton, Missouri 63105                             )
                                                    )
                        Defendant.                  )

                                           COMPLAINT

        COMES NOW Plaintiff Michelle A. Miller, by and through the undersigned counsel of

record, and for her Complaint against Defendant TSG Resources, Inc. d/b/a SCP Health hereby

states and alleges as follows:

                                     NATURE OF THE ACTION

1.      This is an action for sex discrimination and retaliation under Title VII of the Civil Rights

Act of 1964, 42 U.S.C § 2000e et seq. and the Missouri Human Rights Act against Defendant for

unlawfully discriminating against plaintiff Michelle A. Miller in the terms and conditions of her

employment on the basis of her sex and retaliating against her for reporting complaints based upon

her protected class status.

                                           THE PARTIES

2.      Plaintiff Michelle A. Miller (“Plaintiff”) resides in the State of Illinois.

3.      Defendant TSG Resources, Inc. d/b/a SCP Health (hereinafter “Defendant”) is located in

the State of Missouri and is responsible for the employment discrimination and sexual harassment




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of Plaintiff. Defendant can be served through its Registered Agent at CT Corporation System, 120

South Central Avenue, Clayton, Missouri 63105.

                                 JURISDICTION AND VENUE

4.      Original federal question jurisdiction over this suit is conferred on this Court by 28 U.S.C

§§ 1331 as it is brought under Title VII of the Civil Rights Act of 1964, 42 U.S.C. § 200e et seq.

5.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b) because the unlawful

employment practices occurred in and around St. Louis, St. Louis County, Missouri, and where

Plaintiff suffered the unlawful employment practices and the resultant damages.

6.      All conditions precedent to jurisdiction have occurred or been complied, in that Plaintiff

filed her administrative charge in a timely manner with the Equal Employment Opportunity

Commission (“EEOC”). A copy of the charge is attached hereto as Exhibit A.

7.      The EEOC issued Plaintiff a Notice of Right to Sue and this lawsuit if filed within ninety

(90) days of issuance. A copy of the Right to Sue is attached as Exhibit B.

8.      The Missouri Commission on Human Rights also issued Plaintiff a Notice of Right to Sue

and this lawsuit if filed within ninety (90) days of issuance. A copy of the Right to Sue is attached

as Exhibit C.

                                  GENERAL ALLEGATIONS

9.      Plaintiff worked for Defendant as a Regional Vice President at SCP Health in St. Louis

since January of 2015.

10.     Throughout Plaintiff’s tenure in this position, she was qualified for the position and

performed her job duties more than satisfactorily.




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11.    In 2018, Plaintiff’s supervisor, Jude Reed, began sending her explicit test messages

including but not limited to comments such as “owing [Plaintiff] a kiss with tongue” and a “boob

squeeze.”

12.    At all times relevant herein, Plaintiff’s supervisor, Mr. Reed, was acting as an agent,

servant, and employee of Defendant.

13.    Mr. Reed also sent Plaintiff a photograph of a girl at an airport with her thong underwear

exposed.

14.    Mr. Reed told Plaintiff that another female employee had reported him for similar behavior

and that Mr. Reed would make sure that Defendant fired her for reporting him.

15.    Upon information and belief, the other female employee who reported Mr. Reed for the

similar behavior that Mr. Reed told Plaintiff he would have fired, was indeed terminated.

16.    Mr. Reed threatened Plaintiff that she could lose her job too if she told anyone about his

sexually-charged text messages to her.

17.    Upon information and belief, Defendant had knowledge of Mr. Reed’s inappropriate

behavior and sexual harassment of female employees.

18.    Upon information and belief, Defendant had reprimanded Mr. Reed for his inappropriate

conduct toward Defendant’s Chief Financial Officer (CFO) who is female.

19.    At the beginning of 2020, Plaintiff reported Mr. Reed’s sexual harassment to Mr. Reed’s

supervisor, Beverly Gladney.

20.    At all times relevant herein, Mr. Reed’s supervisor, Ms. Gladney, was acting as an agent,

servant, and employee of Defendant.

21.    Ms. Gladney acknowledged the human resources investigation of Mr. Reed regarding

Defendant’s CFO’s complaint.




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22.     Plaintiff also reported Mr. Reed’s sexual harassment to Defendant’s Human Resources

Department.

23.     At all times relevant herein, Defendant’s Human Resources Department was acting as an

agent, servant, and employee(s) of Defendant.

24.     Plaintiff was told that there would be a human resources investigation of Mr. Reed

regarding her complaint and then Defendant’s Human Resources Department would get back with

her.

25.     Defendant’s Human Resources Department emailed correspondence to Plaintiff stating

there would be consequences for the things that she had reported about Mr. Reed.

26.     Immediately following Plaintiff’s report to Defendant’s Human Resources Department,

she was retaliated against for making the complaint about Mr. Reed.

27.     Plaintiff was up for a promotion and upon information and belief, Mr. Reed retaliated

against her by eliminating the position that she was to be promoted.

28.     On April 9, 2020, less than a week after reporting Mr. Reed to Defendant’s Human

Resources Department, Plaintiff received a letter notifying her of her termination with Defendant.

29.     Upon information and belief, Mr. Reed has a pattern and practice of harassing Defendant’s

female employees.

30.     Plaintiff was terminated from her employment with Defendant.

31.     Throughout Plaintiff’s employment, the employees of Defendant listed herein failed to

prevent or correct the harassment and discriminatory behavior from occurring and instead

retaliated against Plaintiff.

32.     At all times relevant herein, the above-named individuals were agents, servants and

employees of Defendant and were at all times acting within the scope and course of their agency




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and employment, or their actions were expressly authorized and ratified by Defendant. Therefore,

Defendant is liable for the actions of said persons and/or perpetrators under all theories pled herein.

                                              COUNT I:
                                     Sex Discrimination-Title VII
                                          Against Defendant

33.       Plaintiff reasserts the allegations set forth in the preceding paragraphs as if fully set forth

herein.

34.       Defendant discriminated against Plaintiff in the terms and conditions of her employment.

35.       Defendant’s conduct constitutes intentional discrimination on the basis of sex, with malice

and disregard of Plaintiff’s rights.

36.       Defendant’s conduct constitutes disparate treatment and intentional discrimination of

Plaintiff based on sex.

37.       Management level employees perpetuated the discrimination based on Plaintiff’s sex.

38.       In addition, management level employees knew or should have known of the

discrimination based on Plaintiff’s sex but failed to address the discrimination and further failed

to implement effective and appropriate procedures to stop the discrimination.

39.       As a direct and proximate result of the unlawful conduct of Defendant as set forth herein,

Plaintiff has suffered damages which include emotional distress, pain and suffering, past and future

loss of wages and benefits, lost value of anticipated retirement benefits, detrimental job record,

career damage, mental distress in the form of embarrassment, degradation, humiliation, anxiety,

loss of enjoyment of life, loss of sleep, and other nonpecuniary losses.

40.       The conduct of Defendant was intentional, malicious, in conscious disregard for the rights

of Plaintiff and others similarly situated, and reflected a conscious indifference to Plaintiff’s

federally protected rights, entitling Plaintiff to an award of punitive damages.




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41.       Plaintiff is entitled to recover all of her costs, expenses, expert witness fees and attorneys’

fees incurred in this matter as well as other appropriate, including equitable, relief.

          WHEREFORE, Plaintiff prays for judgment against Defendant for actual damages,

compensatory and punitive damages, all costs, expenses and attorneys’ fees incurred herein,

appropriate equitable relief, for interest at the highest lawful rate, and for such other relief as the

Court deems just and proper.

                                              COUNT II:
                                         Retaliation – Title VII
                                          Against Defendant

42.       Plaintiff reasserts the allegations set forth in the preceding paragraphs as if fully set forth

herein.

43.       Plaintiff engaged in protected activity by reporting and opposing conduct made unlawful

by Title VII as described above, including complaining of sex discrimination and harassment to

which she and other female employees were being subjected.

44.       Plaintiff suffered adverse employment action in that she was terminated from employment

after she complained about sexual discrimination and harassment.

45.       Management level employees perpetuated the discrimination based on Plaintiff’s sex.

46.       In addition, management level employees knew or should have known of the

discrimination based on Plaintiff’s sex but failed to address the discrimination and further failed

to implement effective and appropriate procedures to stop the discrimination.

47.       As a result of and in retaliation for engaging in the protected activities described above,

Plaintiff was subjected to adverse employment actions.

48.       In retaliation for Plaintiff’s protected activities, Defendant terminated Plaintiff.




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49.       There is a causal connection between Plaintiff’s exercise of protected activity and her

termination.

50.       As a direct and proximate result of the unlawful conduct of Defendant as set forth herein,

Plaintiff has suffered damages which include emotional distress, pain and suffering, past and future

loss of wages and benefits, lost value of anticipated retirement benefits, detrimental job record,

career damage, mental distress in the form of embarrassment, degradation, humiliation, anxiety,

loss of enjoyment of life, loss of sleep, and other nonpecuniary losses.

51.       The conduct of Defendant was intentional, malicious, in conscious disregard for the rights

of Plaintiff and others similarly situated, and reflected a conscious indifference to Plaintiff’s

federally protected rights, entitling Plaintiff to an award of punitive damages.

52.       Plaintiff is entitled to recover all of her costs, expenses, and attorneys’ fees incurred in this

matter as well as other appropriate, including equitable relief.

          WHEREFORE, Plaintiff prays for judgment against Defendant for actual damages,

compensatory and punitive damages, all costs, expenses, expert witness fees and attorneys’ fees

incurred herein, appropriate equitable relief, for interest at the highest lawful rate, and for such

other relief as the Court deems just and proper.

                                              COUNT III:
                Violation of the Missouri Human Rights Act – Sex Discrimination
                           R.S.Mo. § 213.010, et seq. Against Defendant

53.       Plaintiff reasserts the allegations set forth in the preceding paragraphs as if fully set forth

herein.

54.       The actions of Defendant constitute unwelcome and discriminatory conduct.

55.       Plaintiff’s sex was a factor in the discriminatory conduct she experienced and suffered.




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56.     The discriminatory conduct included, but was not limited to, unwanted sexual harassment

by Defendant’s employee, Mr. Reed, as described herein.

57.     Plaintiff’s terms and conditions of employment were adversely affected as a result of

Defendant’s conduct.

58.     Defendant’s conduct caused Plaintiff degradation, humiliation, anxiety, and emotional

distress.

59.     The conduct described herein would have detrimentally affected a reasonable person in

Plaintiff’s position.

60.     Management level employees perpetuated the discrimination based on Plaintiff’s sex.

61.     In addition, management level employees knew or should have known of the

discrimination based on Plaintiff’s sex but failed to address the discrimination and further failed

to implement effective and appropriate procedures to stop the discrimination.

62.     The actions and conduct set forth herein were outrageous and showed an evil motive or

reckless indifference or conscious disregard for the rights of Plaintiff and therefore Plaintiff is

entitled to punitive damages from Defendant to punish and deter Defendant and others from like

conduct.

        WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant, for a

finding that she has been subjected to unlawful discrimination as prohibited by R.S.Mo. § 213.010

et seq.; for an award of compensatory and punitive damages, for her costs expended, for her

reasonable attorneys’ fees and for such other relief as this Court deems just and proper.




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                                           COUNT IV:
                     Violation of the Missouri Human Rights Act-Retaliation
                                        Against Defendant

63.       Plaintiff reasserts the allegations set forth in the preceding paragraphs as if fully set forth

herein.

64.       Defendant’s conduct included, but was not limited to, terminating Plaintiff’s employment

after she reported Mr. Reed’s sexual harassment of her to Defendant’s Human Resources

Department and his supervisor, Ms. Gladney.

65.       Plaintiff’s terms and conditions of employment were adversely affected as a result of

Defendant’s conduct.

66.       Defendant’s conduct caused Plaintiff degradation, humiliation, anxiety and emotional

distress.

67.       The conduct described herein would have detrimentally affected a reasonable person in

Plaintiff’s position.

68.       As a proximate result of Defendant’s acts as aforesaid, Plaintiff was retaliated against and

has suffered termination of her employment.

69.       Management level employees perpetuated the retaliation against Plaintiff.

70.       In addition, management level employees knew or should have known of the retaliation

against Plaintiff, but failed to address the retaliation and further failed to implement effective and

appropriate procedures to stop said retaliation.

71.       The actions and conduct set forth herein were outrageous and showed an evil motive or

reckless indifference or conscious disregard for the rights of Plaintiff and therefore Plaintiff is

entitled to punitive damages from Defendant to punish and deter Defendant and others from like

conduct.




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       WHEREFORE, Plaintiff prays for judgment in her favor and against Defendant, for a

finding that she has been subjected to unlawful retaliation as prohibited by Mo.Rev.Stat. 213.010

et seq., for an award of compensatory and punitive damages, for her costs expended, for her

reasonable attorneys’ fees and for such other relief as this Court deems just and proper.

                                 DEMAND FOR JURY TRIAL

       Plaintiff hereby requests trial by jury of all issues triable by jury.



                                                       Respectfully submitted,

                                                       LAUREN ALLEN, LLC

                                                   By: /s/ Lauren Perkins Allen____________
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